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    UNITED STATES BANKRUPTCY COURT
    NORTHERN DISTRICT OF NEW YORK

     ln Re:                                                 Chapter 7 Case
                                                            Case No.: 17-60023-6-dd



              EDWARD F. MILLER,
                                       Debtor
                                                 -----x

                    sÏPULATION EXTENDING TIME TO (l) OBJECT TO
                DEBTOR'S DISCHARGE, DISCHARGEABILITY OF DEBTS, AND
                ANY CLAIMED EXEMPTIONS, AND (ll) MOVE FOR DISMISSAL

                   lT lS HEREBY STIPULATED and agreed by and among the undersigned
    parties that the time periods for L. David Zube, the chapter 7 Trustee (the "Trustee"),
    and parties in interest, including the United States Trustee, to object to the discharge of
    the Debtor, to object to the dischargeability of debts, to object to any claimed
    exemptions by the Debtor of property of the estate, and to move for dismissal are each
    hereby extended to November 15, 2017.

                  ¡T lS FURTHER STIPULATËD that the Debtor will be available on an
    agreed upon date and time for a Bankruptcy Rule 2004 examination by Sonic Arts
    Entertainment LLC ("Sonic Arts"), and that such examination shall take place at the
    offices of Hinman, Howard & Kattell, LLP, B0 Exchange Street, Binghamton, New York.

                  lT lS FURTHER STIPULATED that Debtor will produce those documents
    that Sonic Arts demands prior to his Bankruptcy Rule 2004 examination no less than
    fourteen (14) days before said examination.

                  lT lS FURTHER STIPULATED that the Trustee's pending Motion to
    Dismiss the Debtor's case is adjourned to the Court's July 22,2017 calendar, by which
    time if the Debtor has provided information to the Trustee and Sonic Arts Entertainment
    LLC that they deem sufficient, the Motion to Dismiss will be withdrawn.

                 tT tS FURTHER STIPULATED that this Stipulation may be signed in
    separate parts, and that the various copies, when combined shall constitute one
    document.
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    DATED:       New York, New York        L. David Zube, Esq.
                 June _,2017                     Chapter 7 Trustee


                                           By
                                                 L. David Zube

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                                          Binghamton NY '13901
                                          (607) 722-8823
                                          e-mail: ZubeOffice@aol.com


    DATED       New York, New York        Hinman, Howard & Kattell, LLP
                June i.,t , 2017          Attorney for Sonic Arts



                                                 Daniel    Norton, Esq

                                          80 Exchange Street
                                          PO Box 5250
                                          Binghamton, New York 13901-5250
                                          (607) 231-6804
                                          Email: dnorton@hhk.com


    DATED       New York, New York        Shipkevich PLLC
                June a.ui J, 2017         Attorney       Detrto


                                          By
                                                 lrene       lo

                                          65 Broadway, Suite 508
                                          New York, New York 10006
                                          Email: icostello@shipkevich.com
                                          (646) 588-2795




            SO ORDERED on this   _    day of June, 2017 in Binghamton, New York


                               HONORABLE DIANE DAVIS
